                       Case 2:07-cr-00061-MHT-WC Document 269 Filed 05/23/08 Page 1 of 6
   A0 245B     (Rev. 06/05) Judgment in a Criminal Case
               Sheet 1



                                          UNITED STATES DISTRICT COURT
                         MIDDLE                                    District of                                ALABAMA
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                              V.

                                                                           Case Number:                     2:07cr6 1 -03-MHT
         ADELEKE OLUTUBO SUN TAIWO
                                                                                                                 (WO)

                                                                           USM Number:                      5925 1-0 19

                                                                           Richard Kelly Keith
                                                                           Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         2s and 3s of the Superseding Indictment on November 30, 2007
[1 pleaded nob contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
18 USC 1344 & 2                   Bank Fraud and Aiding and Abetting                                        2/24/2006                     2s
18 USC 1344 & 2                   Bank Fraud and Aiding and Abetting                                        2/24/2006                    3s




       The defendant is sentenced as provided in pages 2 through                 6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
UThe defendant has been found not guilty on count(s)            _____________________________________________________________
             is and 4s of the Superseding
X Count(s) Indictment                                             X are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          May 21, 2008
                                                                          Date of Imposition of Judgment




                                                                          MYRON H. THOMPSON, UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge



                                                                          Dte
                       Case 2:07-cr-00061-MHT-WC Document 269 Filed 05/23/08 Page 2 of 6
AO 245B      (Rev. 06/05) Judgment in Criminal Case
             Sheet 2 - Imprisonment

                                                                                                      Judgment - Page    2   of   6
DEFENDANT:                      ADELEKE OLUTUBO SUN TAIWO
CASE NUMBER:                    2:07cr61-03-MHT


                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of


46 Months. This term consists of 46 months as to Counts 2s and 3s, said terms to run concurrently.



     X The court makes the following recommendations to the Bureau of Prisons:
       1. The court recommends that the defendant be designated to a facility where he can receive drug treatment.




     X The defendant is remanded to the custody of the United States Marshal.

     DThe defendant shall surrender to the United States Marshal for this district:
          1Jat ____________________                   am. D p.m. on
          0 as notified by the United States Marshal.

     DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0 before 2 p.m. on
          0 as notified by the United States Marshal.

          0 as notified by the Probation or Pretrial Services Office.


                                                                  RETURI
I have executed this judgment as follows:




          Defendant delivered on                                                         to

at                                                    with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
                       Case 2:07-cr-00061-MHT-WC Document 269 Filed 05/23/08 Page 3 of 6
AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 3 - Supervised Release
                                                                                                           Judgment—Page       3     of        6
DEFENDANT:                    ADELEKE OLUTUBO SUN TA1WO
CASE NUMBER:                  2:07cr61-03-MHT
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

5 Years. This terms consists of 5 years as to each Counts 2s and 3s, said terms to be run concurrently.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
[1 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
     student, as directed by the probation officer. (Check, if applicable.)
O The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescnbed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ,personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                   Case 2:07-cr-00061-MHT-WC Document 269 Filed 05/23/08 Page 4 of 6
A0 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                             Judgment—Page    4     of          6
DEFENDANT:                ADELEKE OLUTUBO SUN TAIWO
CASE N1JMBER:             2:07cr61-03-MHT

                                         SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall provide the probation officer any requested financial information.
2. The defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
3. The defendant shall submit to a search of his person, residence, office, and vehicle pursuant to the search policy of this
court.
4. In light of the defendant's illegal status, upon completion of the term of imprisonment, the defendant shall be remanded to
the custody of the Bureau of Immigration and Customs Enforcement for deportation proceedings in accordance with the
Immigration and Nationality Act. If deported, (a) the term of supervision shall be non-reporting while he lives outside the
United States; (b) the defendant shall not illegally reenter the United States; and ( c) if the defendant should reenter the
United States during the term of supervised release, he shall report to the nearest United States Probation Office within 72
hours of arrival.
AO 245B
                     Case 2:07-cr-00061-MHT-WC Document 269 Filed 05/23/08 Page 5 of 6
           (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5—Criminal Monetaiy Penalties
                                                                                                      Judgment—Page          5   of       6
DEFENDANT:                         ADELEKE OLUTTJBO SUN TAIWO
CASE NUMBER:                       2:07cr61-03-MHT
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                           Fine                                Restitution
TOTALS             $ 200                                               $                                     $ 74,089.15


D The determination of restitution is deferred until ______. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
     the pnority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                        Restitution Ordered                   Priority or Percentage
Wachovia Bank                                                                            $72,387.00
Attn: John Tapley
15 Jefferson Street
Alexander City, AL 35010

Gap, Incorporated Direct                                                                $235.41
Attn: Matt Walbright
5900 North Meadows Drive
Grove City, OH 43123

Chase Bank                                                                              $1,466.74
Attn: Jeremy Geisel
4900 Memorial Hwy
FL2-3401
Tampa, FL 33634




TOTALS                               $                             0          $                   74089.15


0 Restitution amount ordered pursuant to plea agreement $ __________________________
0 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     X the interest requirement is waived for the D fine X restitution.
      El] the interest requirement for the            0 fme El restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 245B
                      Case 2:07-cr-00061-MHT-WC Document 269 Filed 05/23/08 Page 6 of 6
           (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6— Schedule of Payments

                                                                                                          Judgment - Page     6      of      6
DEFENDANT:                  ADELEKE OLUTUBO SUN TAIWO
CASE NUMBER:                2:07cr61-03-MHT

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A X Lump sum payment of$ 74,289.15                           due immediately, balance due

           onot later than ___________________________ , or
           o in accordance            C, D D, 0 E,or 0 Fbelow;or

B x Payment to begin immediately (may be combined with 0 C,                           0 D, or x F below); or
C      J Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $ _____________ over a period of
          ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D 0 Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
   ____________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
    term of supervision; or

E 0 Payment during the term of supervised release will commence within ____________ (e.g., 30 or 60 days) after release from
    imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F x Special instructions regarding the payment of criminal monetary penalties:
           All criminal monetary penalty payments shall be made to the Clerk, United States District Court, Middle District of Alabama, Post
           Office Box 711, Montgomery, Alabama 36101. Any balance remaining at the start of supervision shall be paid at the rate of not
           less than of$ 1,200.00 per month.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetaly penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0 Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




0 The defendant shall pay the cost of prosecution.
0 The defendant shall pay the following court cost(s):

El The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
